                                                                              08/26/2024


      IN THE SUPREME COURT OF THE STATE OF MONTANA                        Case Number: DA 24-0343



                             No. DA 24-0343

STATE OF MONTANA,

           Plaintiff and Appellee,
vs.

LILA LYNN LORD,

           Defendant and Appellant.


                                ORDER


      Upon consideration of Appellant’s motion for extension of time,

and good cause appearing,

      IT IS HEREBY ORDERED that Appellant is granted an extension

of time to and including September 27, 2024, within which to prepare,

file, and serve Appellant’s opening brief on appeal.




                                                               Electronically signed by:
                                                                     Mike McGrath
                                                        Chief Justice, Montana Supreme Court
                                                                    August 26 2024
